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                                                  May 23, 2024

        By ECF

        Hon. Marcia M. Henry
        United States District Court
        Eastern District of New York
        225 Cadman Plaza East
        Brooklyn, New York 11201

                 Re:   United States v. Singh
                       23 Cr. 236 (FB)

        Dear Judge Henry:

               On behalf of my client, Sagar Singh, I am writing to request an adjournment of the
        plea hearing scheduled for May 28, 2024, which is necessary because the person who
        would drive Mr. Singh to the courthouse from his home in Rhode Island will not be able
        to do so next week.

              I have conferred with the government and all parties will be available any time on
        June 10, 12, or 13, or on the afternoon of June 21st.

               Accordingly, I request that the Court re-schedule the plea proceeding to one of
        those dates, or to a subsequent date convenient to the Court. The parties consent to the
        exclusion of time until the adjourned date.

                                                  Respectfully,

                                                  /s/
                                                  Jeremy Gutman
                                                  Attorney for Defendant
                                                  Sagar Singh
